                     Case 1:24-cv-09410-LJL              Document 6         Filed 12/11/24       Page 1 of 2

AO 440 (Rev. 12/09) Summons in a Civil Action


                                     UNITED STATES DISTRICT COURT
                                                                for the
                                                   Southern District
                                                 __________  DistrictofofNew York
                                                                          __________

                     HERMIE FAJARDO
                                                                  )
                                                                  )
                             Plaintiff
                                                                  )
                                v.                                )       Civil Action No.     24cv9410
  WOODY ALLEN, SOON-YI PREVIN, and PAMELA                         )
          STEIGMEYER, individually,                               )
                            Defendant
                                                                  )


                                                 SUMMONS IN A CIVIL ACTION

To: (Defendant’s name and address) Woody Allen: 909 Third Ave 15th Floor, New York, NY 10022
                                         Soon-Yin Previn: 909 Third Ave 15th Floor, New York, NY 10022
                                         Pamela Steigmeyer: 909 Third Ave 15th Floor, New York, NY 10022




          A lawsuit has been filed against you.

         Within 21 days after service of this summons on you (not counting the day you received it) — or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(2) or (3) — you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff’s attorney,
whose name and address are: Joseph & Norinsberg, LLC: 110 E 59th Street, Suite 2300, New York, New York
                                         10022




       If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
You also must file your answer or motion with the court.



                                                                             CLERK OF COURT


Date:    December 11, 2024                                                                   /S/ S. James
                                                                                       Signature of Clerk or Deputy Clerk
                       Case 1:24-cv-09410-LJL                 Document 6        Filed 12/11/24          Page 2 of 2

AO 440 (Rev. 12/09) Summons in a Civil Action (Page 2)

 Civil Action No.

                                                       PROOF OF SERVICE
                       (This section should not be filed with the court unless required by Fed. R. Civ. P. 4 (l))

           This summons for (name of individual and title, if any)
 was received by me on (date)                                         .

           u I personally served the summons on the individual at (place)
                                                                                  on (date)                          ; or

           u I left the summons at the individual’s residence or usual place of abode with (name)
                                                               , a person of suitable age and discretion who resides there,
           on (date)                               , and mailed a copy to the individual’s last known address; or

           u I served the summons on (name of individual)                                                                     , who is
           designated by law to accept service of process on behalf of (name of organization)
                                                                                  on (date)                          ; or

           u I returned the summons unexecuted because                                                                             ; or

           u Other (specify):
                                                                                                                                          .


           My fees are $                           for travel and $                 for services, for a total of $          0.00          .


           I declare under penalty of perjury that this information is true.


 Date:
                                                                                         Server’s signature



                                                                                       Printed name and title




                                                                                          Server’s address

 Additional information regarding attempted service, etc:
